PACHULSKI STANG ZIEHL & JONES LLP
James I. Stang, Esq. (admitted pro hac vice)
Ilan D. Scharf, Esq.
Karen B. Dine, Esq.
Brittany M. Michael, Esq.
780 Third Avenue, 36th Floor
New York, New York 10017
Telephone: (212) 561-7700
Facsimile:     (212) 561-7777
Email:         jstang@pszjlaw.com
               ischarf@pszjlaw.com
               kdine@pszjlaw.com
               bmichael@pszjlaw.com

Counsel to the Official Committee
of Unsecured Creditors


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


 In re:                                                      Chapter 11
 THE ROMAN CATHOLIC DIOCESE OF                               Case No. 20-12345 (MG)
 ROCKVILLE CENTRE, NEW YORK,
                     Debtor.


                 REPLY OF THE OFFICIAL COMMITTEE OF
        UNSECURED CREDITORS TO THE OBJECTION OF CATHOLIC FAITH
              NETWORK TO THE REVISED DRAFT SALE ORDER

        The Official Committee of Unsecured Creditors (the “Committee”) of The Roman

Catholic Diocese of Rockville Centre, New York (the “Diocese” or the “Debtor”) in the above-

captioned case (the “Case”) under chapter 11 of title 11 of the United States Code (the

“Bankruptcy Code”), through its undersigned counsel, replies (the “Reply”) to the Objection of




DOCS_LA:348819.1
Catholic Faith Network to the Revised Draft Sale Order1 [Docket No. 2035] (the “CFN

Objection”). In support of the Reply, the Committee respectfully states:

                                                     REPLY

        1.         The Committee supports the sale of the Cell Tower Assets2 under the terms of the

Revised Draft Sale Order.3

        2.         The Prior Proposed Sale Order4 provided that the Diocese’s non-debtor affiliate,

Catholic Faith Network (“CFN”) receive $5,000,000 of the sale proceeds (the “CFN Payment”).

        3.         The Committee objected5 to the CFN Payment because CFN has no property

interest in the Cell Tower Assets so there is no basis for making the CFN Payment. The Revised

Draft Sale Order resolves the Committee’s objection.

        4.         CFN now objects to the Revised Draft Sale Order asserting that the sale may not

be made free and clear of its purported interest in the ongoing rent from the Leases (the “Tower


1
    Notice of Hearing Date and Notice of Filing of Revised Draft Sale Order filed by the Debtor [Docket No. 2020]
    (the “Revised Draft Sale Order”). Capitalized terms used and not otherwise defined herein have the meaning
    ascribed thereto in the CFN Objection.
2
    The proposed sale transaction includes the sale of three antenna structures (the “Cell Towers”), the assumption
    and assignment by the Debtor of certain contracts relating to the Cell Towers (the “Leases”), and certain real
    estate (the “Cell Tower Land”) related to the Cell Towers, which will be sold, or otherwise the buyer will be
    provided with easements regarding the use of the land (the Cell Towers, the Leases, and the Cell Tower Land,
    the “Cell Tower Assets”).
3
    The factual and procedural background of this Case and the proposed sale is set forth in the Objection of the
    Official Committee of Unsecured Creditors to Proposed Order (I) Approving the Sale of Debtor’s Assets Free
    and Clear of Liens, Claims, Interests and Encumbrances; (II) Approving the Assumption and Assignment of
    Executory Contracts and Unexpired Leases in Connection Therewith; and (III) Granting Related Relief [Docket
    No. 1577] (the “Committee Initial Objection”) at ¶¶ 16–29.
4
    Proposed Order (I) Approving the Sale of Debtor’s Assets Free and Clear of Liens, Claims, Interests and
    Encumbrances; (II) Approving the Assumption and Assignment of Executory Contracts and Unexpired Leases
    in Connection Therewith; and (III) Granting Related Relief (the “Prior Proposed Sale Order”), which is attached
    to the Debtor’s Notice of (I) Successful Bidder and Backup Bidder and (II) Proposed Assumed and Assigned
    Executory Contracts and Unexpired Leases in Connection with the Sale of Certain of the Debtor’s Assets
    [Docket No. 1736] (the “Notice of Sucessful Bidder”).
5
    Supplemental Limited Objection of the Official Committee of Unsecured Creditors to the Proposed Order (I)
    Approving the Sale of Debtor’s Assets Free and Clear of Liens, Claims, Interests and Encumbrances; (II)
    Approving the Assumption and Assignment of Executory Contracts and Unexpired Leases in Connection
    Therewith; and (III) Granting Related Relief [Docket No. 1756].


                                                    2
DOCS_LA:348819.1
Revenue”) notwithstanding that the Revised Draft Sale Order expressly preserves CFN interests,

if any, by providing that such interests attach to the Escrowed Proceeds (defined below).

        5.         CFN receives the Tower Revenue based on the Corrected Amended and Restated

Services Agreement, entered as of September 11, 20206 (the “CFN Services Agreement”),7 not

because of any cognizable property interest in the Cell Tower Assets, including the Leases,

themselves.

        6.         Under the CFN Services Agreement, the Diocese provides CFN compensation for

certain services provided by CFN by, among other things, agreeing to “continue to allow CFN to

receive, or pay over to CFN, the Tower Income.” CFN Services Agreement §3(iii) (emphasis

added). In its objection, CFN avoids using the term “allow” when referring to the payment of

the Tower Revenue (CFN Objection ¶¶ 19-20) as the meaning of the term is clear. The Tower

Revenue belongs to the Diocese and the Diocese “allows” CFN to receive that revenue directly

as part of the CFN Services Agreement not because of any independent property interest of CFN

in the Tower Revenue based on the Leases.

        7.         As set forth at length in the Committee’s Supplemental Objection, that the Leases

include CFN in the definition of Landlord does not create a property interest in the assets

underlying the Leases. See Committee Supplemental Objection ¶¶ 33-40.

        8.         CFN’s “right” in the Tower Revnue, if any, from the CFN Services Agreement is

not currently at issue. As CFN has no ownership interest in the sale assets, its consent to the sale

of the Cell Tower Assets is not required. As discussed in the Committee’s Supplemental Sale




6
    The Debtor filed its petition on October 1, 2020.
7
    The CFN Services Agreement is attached as Exhibit B [Docket No. 1778-2] to the Declaration of Robert J.
    White [Docket No. 1778-1].


                                                        3
DOCS_LA:348819.1
Order Objection, any alleged interest that CFN may have would be subject to sections 363(f) and

365(f) of the Bankruptcy Code. Id. at ¶¶ 41-53.

        9.         However, the Revised Draft Sale Order does not deprive CFN of the ability to

demonstrate that it has some congnizable interest in the the escrowed amount of the sale

proceeds (the “Escrowed Proceeds”). The Escrowed Proceeds adequately protected CFN’s

rights, if any, to proceeds from the sale. Revised Draft Sale Order ¶ 38.

        10.        Under the terms of the Revised Draft Sale Order, CFN can assert its purported

interests against the Escrowed Proceeds, and the Court can determine the matter after notice and

a hearing. The Revised Draft Sale Order properly preserves the interests of CFN, if any, and

fulfills sections 363(f) and 365(f) permitting the entry of the Revised Draft Sale Order selling the

Cell Tower Assets free and clear of CFN’s purported interest with such interests attaching to the

Escrowed Proceeds. See Committee Supplemental Objection ¶¶ 41-53.

                                       RESERVATION OF RIGHTS

        11.        The Committee reserves its rights regarding any proposed changes in Revised

Draft Sale Order, including any allowance of any payment to be made to CFN. The Committee

reserves the right to supplement or amend this Reply or any prior sale-related objection of the

Committee and introduce evidence at any hearing on entry of the Revised Draft Sale Order. If

CFN, the Diocese or any other party seeks to introduce evidence with the entry of the Revised

Draft Sale Order at a hearing, the Committee reserves its right to seek discovery regarding such

evidence.




                                               4
DOCS_LA:348819.1
        WHEREFORE, the Committee respectfully requests that the Court approve the Revised

Draft Sale Order. The Committee further requests that the Court grant such other and further

relief as the Court deems just and proper.

Dated: April 27, 2023
       New York, New York

                                             PACHULSKI STANG ZIEHL & JONES LLP

                                             /s/ Karen B. Dine
                                             James I. Stang, Esq. (admitted pro hac vice)
                                             Ilan D. Scharf, Esq.
                                             Karen B. Dine, Esq.
                                             Brittany M. Michael, Esq.
                                             780 Third Avenue, 36th Floor
                                             New York, New York 10017
                                             Telephone:     (212) 561-7700
                                             Facsimile:     (212) 561-7777
                                             Email:         jstang@pszjlaw.com
                                                            ischarf@pszjlaw.com
                                                            kdine@pszjlaw.com
                                                            bmichael@pszjlaw.com


                                             Counsel to the Official Committee
                                             of Unsecured Creditors




                                             5
DOCS_LA:348819.1
